        Case 1:25-cv-00354-RDM               Document 15       Filed 02/12/25       Page 1 of 4



                                     UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF COLUMBIA


 UNIVERSITY OF CALIFORNIA
 STUDENT ASSOCIATION,

                        Plaintiff,

           v.                                           Case No. 1:25-cv-00354-RDM

 DENISE CARTER, in her official capacity as
 Acting Secretary of Education, et al.,

                        Defendants.


          JOINT STATEMENT REGARDING AN ADMINISTRATIVE RECORD
        Pursuant to the Court’s February 11, 2025 Minute Order, ECF No. 13, the parties respectfully

provide the following statements:

        Plaintiff ’s Statement:

        This Court’s February 11, 2025 Order directed the parties to “file a statement regarding what

they anticipate including in the administrative record in this case.” Plaintiff and Defendants appear to

disagree as to the nature of the statement requested by this Court. Plaintiff understands the Court to

be inquiring as to the content of the administrative record “in this case,” whereas Defendants’ position

appears to be that this Court may resolve the pending motion, and a forthcoming motion to dismiss,

without resort to an administrative record.

        Plaintiff disagrees that it lacks standing and/or fails to state a claim and will address those

arguments at the appropriate time. Plaintiff agrees that a certified administrative record is not generally

necessary to rule on a motion for a temporary restraining order. See Chef Time 1520 LLC v. Small

Business Admin., 646 F. Supp. 3d 101, 110 (D.D.C. 2022) (recognizing that the administrative record

requirement “cannot sensibly extend to a motion for a temporary restraining order”), Under Local

Civil Rule 7(n), however, a certified list of the contents of the administrative record is required to be

filed simultaneously with the filing of a dispositive motion, including a motion to dismiss. While there

are circumstances in which the Court has waived that requirement, e.g., Janay v. Blinken, Civ. Action No.


                                                    1
       Case 1:25-cv-00354-RDM              Document 15         Filed 02/12/25       Page 2 of 4




23-3737 (RDM), 2024 WL 3432379, at *3 (D.D.C July 16, 2024), there are other instances where courts

in this district have held that a motion to dismiss is premature without production of an administrative

record, see, e.g., Vargus v. McHugh, 87 F. Supp. 3d 298, 301–02 (D.D.C. 2015) (citing Walter O. Boswell

Memorial Hosp. v. Heckler, 749 F.2d 788, 792 (D.C. Cir. 1984)). Without knowing the Defendants’

arguments, or the materials on which Defendants will rely in any dispositive motion, Plaintiff cannot

opine on whether dispensing with Rule 7(n) would be appropriate in connection with Defendants’

anticipated motion.

        Nonetheless, the administrative record, which consists of materials of which only Defendants
have knowledge, may be helpful to the Court in resolving such motions.

        In other litigation challenging grants of access to Privacy Act and/or Internal Revenue Code-

protected records by DOGE-affiliated individuals, however, the Government has provided

declarations that indicate the sorts of information that would properly comprise an administrative

record—i.e., the information before the agency at the time it made its decision to allow the alleged

access. See, e.g., New York v. U.S. Dep’t of the Treasury, No. 25-cv-1144-JAV (S.D.N.Y. Feb. 11, 2025),

Dkt. Nos. 31–34. As Plaintiff does not know what records are in Defendants’ possession, and because

it is the Defendants’ burden in the first instance to identify the contents of the administrative record,

Plaintiff cannot list these documents with any specificity. While reserving the right to supplement this
list should additional facts come to bear, Plaintiff believes the administrative record in this case would

properly include documents relating to:

        (1) the appointments, hiring authority, and position descriptions of DOGE-affiliated

individuals 1 who were granted access to the ED records systems at issue;

        (2) the establishment and structure of such records systems;

        (3) the decision to, and manner in which, such access was granted to DOGE-affiliated

individuals, including any “DOGE Process Engagement Plan” (including records relating to the


1
 Plaintiff cannot identify all “DOGE-affiliated individuals” at this time, but believes they include
Elon Musk, all members of the DOGE “Agency Team,” and any other individual employed by the
U.S. DOGE Service.

                                                    2
        Case 1:25-cv-00354-RDM              Document 15         Filed 02/12/25        Page 3 of 4




security and access procedures required by ED’s SORNs and regulations);

        and

        (4) any records of access to those systems by DOGE-affiliated individuals

        Defendants’ Statement:

        Defendants intend to move to dismiss Plaintiff ’s complaint pursuant to Fed. R. Civ. P. 12(b)

concurrently with their forthcoming opposition to Plaintiff ’s motion for a temporary restraining order,

ECF No. 9. In that combined filing, Defendants will argue that Plaintiff lacks standing and that

judicial review is unavailable under the APA. An administrative record is not necessary to resolve
these threshold arguments, as judges of the D.C. Circuit and this Court have repeatedly recognized

(particularly in the context of Local Rule 7(n)). E.g., Am. Bankers Ass’n v. Nat’l Credit Union Admin.,

271 F.3d 262, 266-67 (D.C. Cir. 2001) (rejecting argument that the district court erred in refusing to

compel production of the administrative record before deciding motion to dismiss); Arab v. Blinken,

600 F. Supp. 3d 59, 65 n.2 (D.D.C. 2002) (“[T]he general practice in this Court” is to waive Local Rule

7(n) when “the administrative record is not necessary for [the court’s] decision.”); PETA v. U.S. Fish

& Wildlife Serv., 59 F. Supp. 3d 91, 94 n.2 (D.D.C. 2014) (waiving Local Rule 7(n) in case challenging

agency action when dispositive motion at issue raised only threshold jurisdiction and failure to state a

claim arguments); Connecticut v. U.S. Dep’t of the Interior, 344 F. Supp. 3d 279, 294 (D.D.C. 2018) (similar,
“because the Court need not consider the administrative record in evaluating the motions before it”);

Patterson v. Haaland, 2022 WL 4534685, at *1 & n.2 (D.D.C. Sept. 28, 2022) (similar, “because

consideration of the motion to dismiss does not require review of the administrative record”); E. Atl.

Servs. & Trading LLC v. Mayorkas, 2024 WL 4332554, at *6 (D.D.C. Sept. 27, 2024) (waiving Local Rule

7(n) “because I do not rely on the administrative record to decide the motions at issue”). Defendants

therefore respectfully submit that the Court can, and should, resolve the threshold arguments in

Defendants’ Motion to Dismiss before ordering the production of any administrative record.

        Because this suit involves no final agency action, there is no administrative record underlying

the disputed issues.



                                                     3
         Case 1:25-cv-00354-RDM      Document 15     Filed 02/12/25    Page 4 of 4




Dated: February 12, 2024                   Respectfully submitted,

/s/ Adam R. Pulver                         BRETT A. SHUMATE
Adam R. Pulver (DC Bar #1020475)           Acting Assistant Attorney General
Nandan M. Joshi (DC Bar # 456750)
Public Citizen Litigation Group            ELIZABETH J. SHAPIRO
1600 20th Street NW                        Deputy Branch Director
Washington, DC 20009                       Federal Programs Branch
(202) 588-1000
apulver@citizen.org                        /s/ Simon G. Jerome
                                           SIMON G. JEROME
Daniel A. Zibel (DC Bar No. 491377)        D.C. Bar. No. 1779245
Alexander S. Elson (DC Bar No. 1602459)    Trial Attorney
Tyler S. Ritchie                           United States Department of Justice
   (DC Bar No. 90018119)                   Civil Division, Federal Programs Branch
National Student Legal Defense Network     1100 L Street, N.W., Twelfth Floor
1701 Rhode Island Ave. NW                  Washington, D.C. 20005
Washington, DC 20036                       Tel: (202) 514-2705
(202) 734-7495                             Email: simon.g.jerome@usdoj.gov

Counsel for Plaintiff                      Counsel for Defendants
